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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :
                                                :
        v.                                      :          Case No: 23-CR-237 (CJN)
                                                :
 NATHAN EARL HUGHES,                            :
                                                :
        Defendant.                              :

                          GOVERNMENT’S OPPOSITION TO
                    DEFENDANTS’ MOTION TO SUPPRESS EVIDENCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully opposes the defendant’s Motion to Suppress. ECF 115. The defendant

seeks to have the clothing items and digital devices seized during the August 30, 2023, search of

his residence suppressed on the grounds that the search warrant 1) lacked probable cause due to

staleness, and 2) lacked evidence that the devices to be searched were the specific devices

possessed by the defendant on January 6, 2021. For the reasons set forth below, the defendant’s

motion should be denied.

I.     Facts And Procedural History

       A.      Facts

               1.      Defendant’s Conduct Before, On, and After January 6, 2021

       The government has set forth the detailed facts of this case, see ECF 56-1, and additionally

relies on the facts as set forth in the search warrant affidavit, see Attachment A. The government

incorporates these facts by reference. However, the government will briefly set forth the facts as

relevant to this motion.

       Prior to traveling to Washington, the defendant was active on social media and used digital

devices in connection with the events that would be taking place in Washington on January 6,

2021. On or about December 29, 2020, the defendant responded to a tweet referencing events
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scheduled to take place on January 6, 2021. The defendant specifically responded to a tweet

soliciting “good backup ideas for when a central comms blackout happens in continental US.” The

defendant, using his Twitter handle (@RallyNate), posted a link to two-way radios available for

purchase on Amazon. Between October 29, 2020, and December 28, 2020, the defendant also

spent several thousand dollars at sporting goods stores, gun stores, and tactical gear outlets.

       On January 4, 2021, the defendant traveled to Washington, D.C., from his home in

Bentonville, Arkansas. While he was en route to D.C., the defendant replied to a tweet from

Individual-1, a known person who was involved with organizing some of the events in Washington

on January 6. The tweet from Individual-1 indicated that his purpose in Washington was to “fight

fir [sic] our Republic!” The defendant’s response to this tweet was “See you soon brother!” Phone

records indicate that the defendant was in contact with Individual-1 more than forty times between

January 4 and January 7, 2021.

       Also on January 4, 2021, after he arrived in Washington, D.C., the defendant was

referenced in a tweet from Individual-1. The tweet included a photograph that appears to have

been taken inside of a hotel and referenced events taking place in Washington D.C., that evening.

See Figure 1. In the accompanying photograph, the defendant can be seen using a phone. Id.




                                             Figure 1.



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       On the morning of January 6, the defendant attended the “Stop the Steal” rally hosted by

the former President. During the rally, the defendant tweeted an image taken from the Ellipse.

While he was at the rally, the defendant wore a red hat, brown sunglasses, Mechanix brand gloves,

and a red tee-shirt with an image of the former President flexing his bicep that he wore over a gray

hooded sweatshirt. See Figure 2a. At some time between when the rally ended and approximately

2:30 p.m., the defendant changed outfits, into a black, camouflage hat with a frayed brim and a

black Infowars shirt with an image of a space shuttle, that he wore over a gray hooded sweatshirt;

the defendant also tied a red bandana around his neck, which he wore as a covering for the lower

half of his face for the duration of his time at the Capitol. See Figure 2b.




                               Figure 2a.                  Figure 2b.

       The defendant rode in a golf cart to the area near the Grant Monument on the West Front

of the United States Capitol and entered the restricted perimeter after 2:30 p.m. Inside the restricted

perimeter, he approached the area known as the tunnel on the Lower West Terrace. At

approximately 3:15 p.m., the defendant stood at the mouth of the tunnel. As this Court knows, and

as evidence will establish, the Lower West Terrace was an area in which some of the worst battles

between law enforcement and rioters occurred over a prolonged period. At the mouth of the tunnel,

around 3:15 p.m., the defendant turned to the crowd, signaled them forward, and shouted “C’mon!”

before charging into the tunnel himself. Inside the tunnel, the defendant engaged in synchronized


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pushing against police for approximately three minutes. During this time, he also stole, tried to

steal, or assisted others in stealing police officers’ riot shields and passed the shields to the crowd

behind him. Once the officers began pushing the rioters from the tunnel, the defendant tried again

to steal an officer’s shield. Seconds before being pushed from the tunnel, the defendant struck a

police officer with his elbow.

       After being ejected from the tunnel, the defendant remained in the vicinity of the Lower

West Terrace until at least 4:50 p.m. In connection with the events in D.C., the defendant posted

the following statements to social media, respectively on Twitter and Facebook:




                  Figure 3a. Posted at 2:10pm                    Figure 3b. Posted at 6:29pm
                     on January 6, 2021.                             on January 6, 2021.




                                  Figure 3c. Posted on January 7, 2021.

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       On January 26, 2021, the FBI interviewed the defendant by phone in response to a tip.

During this interview, the defendant stated that he did not enter the Capitol on January 6, 2021.

Sometime during the summer of 2021, the defendant deleted all his social media accounts. 1

               2.      Identification

       In January 2021, the FBI received two tips which stated that the defendant had been present

in Washington, D.C., for the rally and was present at the Capitol. The first of these tips, which was

submitted on January 8, stated that the defendant was present in Washington with another known

rioter and that the defendant may have been connected to criminal activity that occurred in

Washington. The second tipster, who submitted tips on January 18 and 19, provided a picture of

an individual whom the tipster believed to be the defendant in the Capitol. Subsequent

investigation determined that this second tipster identified the wrong person as the defendant but

did provide accurate links to the defendant’s social media to the FBI.

       In August 2021, the FBI received another tip that the defendant had been present in

Washington on January 6, 2021. This August 2021 tip also provided two screenshots from the

defendant’s Twitter account which alluded to the violence at the Capitol, see Figures 3a & 3b, and

also included the screenshot of Individual-1’s tweet which indicated that the defendant was in

Washington on January 4, 2021, see Figure 1. Also in August 2021, the defendant was publicly

identified in the media as having participated in violence at the Capitol. In November 2021, the

FBI received yet another tip that indicated that the defendant had been present in Washington. This

tip provided a video of him travelling to the riot in a golf cart wearing the camouflage hat, Infowars

shirt, and Mechanix gloves.



1
 Days after the defendant was arrested in this case, a Twitter account with the same username,
@RallyNate, became active again and has sporadically been used to post updates on the
defendant’s case.
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       B.      The Search Warrant

       The defendant was charged via criminal complaint on August 18, 2023. See ECF 56. In

connection with his forthcoming arrest, the FBI sought a search warrant. On August 24, 2023,

Magistrate Judge Christy D. Comstock of the Western District of Arkansas signed the search

warrant. This search warrant authorized the FBI to search the defendant’s home for and seize

electronic devices and evidence connected to his activities in Washington, including the clothing

that he wore in the morning at the rally and the clothing that he wore at the Capitol after his outfit

change, which would help corroborate the identification of the defendant as having been present

at the Capitol on January 6, 2021. Certain items of the clothing for which the FBI sought

authorization to search are now the subject of this motion.

       In addition to enumerating the items that the defendant wore on January 6, the affidavit

provided additional information regarding certain of those items: the camouflage Branded Bills

baseball hat and the black Infowars t-shirt with “Space Force est. 2020” printed on it, both of which

the defendant wore when he was on Capitol grounds. The defendant’s hat was, based on the

investigation, one that he had customized, specially ordered, and had owned for more than three

years on January 6, 2021. See Attachment A, ¶¶ 49 n. 4, 73. This hat also had a frayed brim,

indicating that the defendant appeared to wear it frequently and that it could, therefore, have some

sentimental value. See Attachment A, ¶ 73. Second, the Infowars shirt that the defendant wore at

the Capitol was, based on the investigation, part of a limited production of such shirts during the

summer of 2020 and was no longer available for mass purchase. See id. The affidavit noted that

the unique characteristics of these items indicated that they had special, non-monetary value and

were less likely to be disposed of than other replaceable items. Id.




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       The affidavit also contained information about the defendant’s use of digital devices.

Specifically, the affidavit specified known instances when the defendant used digital devices in

connection with the events in Washington, D.C. See Attachment A, ¶¶ 38, 40-41, 43-44, 48, 64, &

68. Among these instances was the defendant’s phone communications with Individual-1, an

image showing that he had a phone in his possession while was in Washington, D.C., see Figure

1, and screenshots of at least some of the posts that he made to social media in connection with

(and during) the events at the Capitol, see Figures 3a-3c. The affidavit further described the

technical specifications surrounding the retention of digital evidence. See Attachment A, ¶ 84.

       The search warrant also included a non-exhaustive list of sixteen searches of residences

that FBI agents had executed pursuant to lawfully issued warrants between February 2022 and

June 2023. See Attachment A, ¶¶78-80. These searches were conducted in connection with the

arrest of individuals who were being charged for participating in the riot at the Capitol. In each of

the searches identified in this list, the FBI seized items such as clothing, weapons, protective gear,

electronic devices, 2 and other evidence connected to the riot at the Capitol. In other words, in 2022

and 2023, law enforcement continued to seize evidence, including digital evidence and physical

clothing, relevant to the riot at the U.S. Capitol in 2021.

       C.      Arrest of the Defendant and Search of his Residence

       On August 30, 2023, the defendant was arrested, and his home was searched pursuant to

the warrant issued by Judge Comstock. During that search, the FBI recovered the red hat, red shirt,

and sunglasses that the defendant wore at the “Stop the Steal” rally on the morning of January 6;

the FBI did not recover any other clothing item that the defendant wore on January 6. The FBI,



2
  In the case of the electronic devices, many of them were subsequently determined to contain
evidence of the users’ participation in the riot at the Capitol, such as text messages, photos, videos,
and geolocation data.
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also pursuant to the terms of the warrant, seized several electronic devices. A subsequent search

of these devices determined that they did not contain anything responsive to the warrant.

       On September 13, 2023, the grand jury returned a superseding indictment in the case of

United States v. Jay James Johnston et al., 23-cr-237 (CJN), which added the defendant to the

previously returned indictment The indictment charged the defendant with violations of 18 U.S.C.§

231(a)(3), § 18 U.S.C. § 111(a)(1), 18 U.S.C. § 1752(a)(1) and (2), and 40 U.S.C. § 5104(e)(2)(E).

Trial is scheduled to commence on July 15, 2024. On March 22, 2024, the defendant filed the

instant motion seeking to suppress the evidence recovered at his home, including the clothing and

the electronic devices recovered during the August 30, 2023, search. ECF 115 at 2. The

government now responds.

II.    Fourth Amendment Principles

       A.      Challenging a Judicially Authorized Warrant

       Searches of a person’s home, and any electronic devices found therein, are generally not

permitted without probable cause. U.S. CONST. AMEND. IV; see also Riley v. California, 573 U.S.

373 (2014). There is a strong preference for law enforcement officials to seek a warrant rather to

rely on exigency or another Fourth Amendment exception to justify a search. See Massachusetts

v. Sheppard, 468 U.S. 981, 990 (1984) (The “exclusionary rule was adopted to deter unlawful

searches by police, not to punish the errors of magistrates and judges.”). In keeping with this strong

preference, the defendant, in turn, bears a heavy burden to suppress the results of a search based

on a warrant authorized by a magistrate judge because an “affidavit offered in support of a search

warrant enjoys a presumption of validity.” United States v. Rhine, 21-CR-687 (RC), 2023 WL

2682258, at *2 (D.D.C. Mar. 29, 2023) (quoting United States v. Maynard, 615 F.3d 544, 550

(D.C. Cir. 2010)).”



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       When deciding whether to authorize a search warrant, the “task of the issuing magistrate

is simply to make a practical, common-sense determination of whether probable cause exists.”

United States v. Nozette, 692 F. Supp. 2d 110, 111 (D.D.C. 2010) (quoting Illinois v. Gates, 462

U.S. 213, 238-39 (1983)). Finding such “[p]robable cause is not a high bar,” District of Columbia

v. Wesby, 583 U.S. 48, 57 (2018) (cleaned up), and in challenging the sufficiency of a warrant, the

defendant—not the government—bears the burden of proving the subsequent search after issuance

of a valid warrant was improper. United States v. Manafort, 313 F. Supp. 3d 213, 219 (D.D.C.

2018) (citing Rakas v. Illinois, 439 U.S. 128, 130 n.1 (1978)).

       To this end, a court’s scrutiny of a magistrate court’s issuance of a warrant should not take

the form of de novo review. Gates, 462 U.S. at 236. “A grudging or negative attitude by reviewing

courts towards warrants is inconsistent with the Fourth Amendment’s strong preference for

searches conducted pursuant to a warrant; courts should not invalidate warrants by interpreting

affidavits in a hypertechnical, rather than a common sense, manner.” Id. (quoting United States v.

Ventresca, 380 U.S. 102, 108-109 (1983) (cleaned up). Therefore, “the traditional standard of

review of an issuing magistrate’s probable cause determination has been that so long as the

magistrate had a ‘substantial basis for concluding’ that a search would uncover evidence of

wrongdoing, the Fourth Amendment requires no more.” Id. at 236-237 (quoting Jones v. United

States, 362 U.S. 257, 271 (1960)).

       A magistrate judge’s finding of “[p]robable cause is a fluid concept—turning on the

assessment of probabilities in particular factual contexts—not readily, or even usefully reduced to

a near set of legal rules.” Gates, 462 U.S. at 232. To establish probable cause to search a residence,

the affidavit must establish a “nexus” between the criminal activity and the premises to be

searched. United States v. Burroughs, 882 F. Supp. 2d 113, 122 (Kollar-Kotelly, J.) (citing United



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States v. Thomas, 989 F.2d 1252, 1255 (D.C. Cir. 1993)). To satisfy the nexus requirement, the

magistrate needs only to determine that there is a “reasonable basis to infer from the nature of the

illegal activity observed, that relevant evidence will be found in the residence.” Id. This nexus can

be established by, in addition to the affiant describing the facts of the case, the affiant’s reasonable

inferences based on her training and experience as articulated in the affidavit. Burroughs, 882 F.

Supp. 2d at 122-123 (“It takes a leap of logic to believe a narcotics trafficker would record

transactions and store that information in a safety deposit box, but not to infer that a robber would

keep cellular telephones and an iPod in his apartment.”) (emphasis in original).

        B.      Staleness

        Part of the analysis about whether there is probable cause to search is the recency or

“freshness” of the supporting evidence in the affidavit. See United States v. Washington, 775 F.3d

405 (D.C. Cir. 2014); see also United States v. Webb, 255 F.3d 890, 904 (D.C. Cir. 2001).

However, this determination of whether information is “fresh” or “stale” is not merely a rote

calculus of the days elapsed since the crime. See also Walczyk v. Rio, 496 F.3d 139, 162 (2d Cir.

2007) (“The law sensibly draws no bright-line rule for staleness.”); see also United States v. Savoy,

889 F. Supp. 2d 78, 88-89 (D.D.C. 2012) (Lamberth, J.); United States v. Ali, 870 F. Supp. 2d 10,

33 (D.D.C. 2012) (Huvelle, J.) (“In determining probable cause for the issuance of a search

warrant, time alone, of course, is not controlling.” (quoting Schoeneman v. United States, 317 F.2d

173, 177-178 (D.C. Cir. 1963))).

        The question instead “is whether, at the time an affidavit is presented to a magistrate, it

establishes probable cause that evidence will be found at the location of the search.” Ali, 870 F.

Supp. 2d at 33. To this point, the Circuit has provided gloss and caution when attempting to reduce

a staleness analysis to a mathematical function:



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       The likelihood that the evidence sought is still in place is a function not simply of
       watch and calendar but of variables that do not punch a clock: the character of the
       crime (chance encounter in the night or regenerating conspiracy?), of the criminal
       (nomadic or entrenched?), of the thing to be seized (perishable and easily
       transferable or of enduring utility to its holder?), of the place to be searched (mere
       criminal forum of convenience or secure operational base?), etc.

United States v. Bruner, 657 F.2d. 1278, 1298 (D.C. Cir. 1981) (citing Andresen v. State, 331 A.3d

78, 106 (Md. Ct. Spec. App. 1975), aff’d 427 U.S. 463 (1976).

       In keeping with Bruner, courts in this district have used of a “totality of the circumstances”

test when reviewing the warrant decision of an issuing judge. See United States v. Ginyard, 628 F.

Supp. 3d 31, 47 (D.D.C 2022) (Kollar-Kotelly, J.) (“Based on the totality of the circumstances,

Judge Wellner [of the Superior Court of the District of Columbia] had a substantial basis for

concluding that evidence of a violation of animal cruelty laws would be found at [the defendant’s]

residence.”). Moreover, when making a determination about the staleness of an affidavit for a

search warrant, it is necessary to make an individualized determination about the particular warrant

relative to other cases with similar charges and what courts have found regarding “staleness” in

those cases. United States v. Edelin, 128 F. Supp. 2d 23, 46-47 (D.D.C. 2001) (Lamberth, J.).

“[W]hen the evidence sought is of a type that would be maintained after the criminal activity

ceased, then older information can still be considered reliable when used to obtain a search

warrant.” Id. (collecting cases wherein warrants with information aged eighteen months, two years,

two and a half years, and three and one-half years was still “fresh” for purposes of the Fourth

Amendment in light of the nature of the crime and the items sought). Law enforcement officials

may also continue investigating a case beyond the point at which they attain probable cause

because the Fourth Amendment does not require them to stop the investigation and apply for a

warrant the moment they pass beyond that threshold. See Kentucky v. King, 563 U.S. 452, 467

(2011) (“We have said that ‘[l]aw enforcement officers are under no constitutional duty to call a

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halt to a criminal investigation the moment they have the minimum evidence to establish probable

cause.’” (quoting Hoffa v. United States, 385 U.S. 293, 310 (1966))).

       Even if information contained in a warrant is stale, suppression is not the proper remedy.

Rather, “evidence obtained from a search should be suppressed only if it can be said that the law

enforcement officer had knowledge, or may properly be charged with knowledge, that the search

was unconstitutional under the Fourth Amendment.” United States v. Leon, 468 U.S. 897, 919,

104 S. Ct. 3405 (1984). “In the ordinary case, an officer cannot be expected to question the

magistrate’s probable-cause determination or his judgment that the form of the warrant is

technically sufficient.” Washington, 775 F.3d at 407 (quoting Leon, 468 U.S. at 898). Thus “we

ordinarily do not suppress evidence seized pursuant to a search warrant unless the warrant affidavit

was ‘so lacking in indicia of probable cause as to render official belief in its existence entirely

unreasonable.”’ United States v. Cardoza, 713 F.3d 656, 659 (D.C. Cir. 2013) (quoting Leon, 468

U.S. at 923). This principle also applies to the staleness analysis. See United States v. Matthews,

753 F.3d 1321, 1325-1326 (D.C. Cir. 2014) (declining to determine whether a potential period of

three years was “stale” because the officers were executing a warrant that contained “a judicial

mandate to an officer to conduct a search” (quoting Leon, 468 U.S. at 920 n.21).

III.   Argument

       According to the defendant, the warrant was deficient because the evidence supporting it

was “impermissibly stale.” ECF 115 at 8. His focus appears to the lack of “justification or for why

more than 950 days elapsed between the time it was aware of evidence . . . and when it took used

[sic] that evidence as justification to seek a search warrant.” Id. He then further argues that because

the defendant was involved in a “single incident crime”, the search warrant was predicated upon

“stale evidence.” Id. at 10. The defendant also claims that the affidavit lacked any evidence that



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he “owned or possessed a phone on January 6, 2021 . . . or that any computer inside the residence

had any connection to his alleged actions on January 6, 2021.” Id. Finally, the defendant takes

issue with the affiant’s inclusion of other January 6 warrant-based searches, remarking that “the

fact that evidence in unrelated cases involving unrelated suspects at unrelated locations have

absolutely no relevance.” Id. at 12 (emphasis added). The defendant’s claims lack merit, and his

motion should be denied.

       To start, the affidavit contained significant evidence regarding the defendant’s crimes and

the nexus between his crimes and the evidence sought. Second, the information contained within

the affidavit was not stale. The fact that the investigation took years to conclude did not vitiate

probable cause or the expectation that digital devices or clothing would be found. Since the

government is not seeking to introduce any evidence from the digital devices, we now focus

primarily on the tangible items that the defendant seeks to suppress: the red hat, the red shirt, and

the brown sunglasses, all of which were worn by the defendant on January 6, 2021 that were

recovered at his residence on August 30, 2023. These items, as well as others that were not

recovered at the defendant’s residence, were each described with particularity in the warrant. The

defendant’s ultimate complaint is solely one of freshness or staleness.

       A.      The Information in the Warrant Was Not Stale

       In moving to suppress the evidence seized in the search, the defendant asks this court to

perform precisely the type of hypertechnical reading of the affidavit that the Supreme Court has

ruled it should not. Gates, 462 U.S. at 236 (“[C]ourts should not invalidate warrants by interpreting

affidavits in a hypertechnical, rather than a common sense, manner.”). Based on that disfavored

hypertechnical reading of the affidavit, he argues that this Court should overturn the decision of

the issuing magistrate, another disfavored practice. Id.; Nozette, 692 F. Supp. 2d at 111; Manafort,



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313 F. Supp. 3d at 219. Here, however, the totality of the circumstances within the affidavit clearly

established that there was sufficient probable cause for the magistrate to issue the warrant. Bruner,

657 F.2d. at 1298; Ginyard, 628 F.Supp.3d at 47.

        The defendant’s motion repeatedly, if not singularly, focuses on the amount of time that

elapsed between January 6, 2021, and the day of the defendant’s arrest on August 30, 2023. ECF

115 at 8, 9, 11, & 15. However, by focusing his analysis on this rote measure of days and months,

the defendant ignores the fluid assessment of probable cause that must be undertaken. Bruner, 657

F.2d. at 1298; Savoy, 889 F. Supp. 2d at 88-89. The age of the information contained in the affidavit

is just one among many factors that a court should consider when determining if probable cause

exists. Ginyard, 628 F. Supp. 3d at 47. A finding of probable cause turns on holistic considerations

about 1) the evidence sought, 2) the location to be searched, and 3) the nature of the crime being

investigated. Bruner, 657 F.2d. at 1298

                1.      The evidence sought.

        With respect to the evidence, the affidavit amply outlined the clothing items sought and

their connection to the defendant’s activities on January 6, 2021. See Attachment A, ¶¶ 47-49. The

affidavit did not rest at generalizations or boilerplate language. Rather, it provided extensive details

about the specific items of clothing sought, their unique character, and their connection to the

crime. Edelin, 128 F. Supp. 2d at 46-47 (“[O]lder information can still be considered reliable when

used to obtain a search warrant” if the evidence sought is of the type that would be maintained

after the crime.”). The affidavit further set forth reasons to believe why the evidence sought is not

“perishable.” Bruner, 657 F.2d at 1298. In Edelin, the Court noted that older information may still

be relied upon if the evidence sought is of the type that would be maintained after the crime as

occurred. Clothing is a durable good that is not perishable like food, drugs, or even contraband.



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Indeed, several courts have recognized that clothing connected to crimes is not stale for purposes

of warrants. See, e.g., United States v. Robinson, 741 F.3d 588 (5th Cir. 2014) (stating clothing

seen in photographs two years prior was not stale); United States v. Baker, 888 F. Supp. 1521 (D.

Haw. 1995) (finding that clothing and jewelry were likely still in a house even after 18 months

during an ongoing illegal operation); United States v. Pelham, 749 F. Supp. 304 (D.D.C. 1990)

(black hooded sweat jacket obtained via search warrant after 6 months); Amica v. State, 307 Ga.

App. 276, 704 S.E.2d 831 (2010) (dark colored clothing, blue Dickie pants, low-cut Timberland

boots discovered 9 months after crime was committed); Carruthers v. State, 272 Ga. 306 (2000)

(clothing obtained 6 months after crime) (overturned on other grounds by Vergara v. State, 283

Ga. 175 (2008)).

       Clothing is drastically different than other kinds of evidence. For example, drugs move to

and from an illegal market and are often physically consumed by those who possess them, and

thus one would not expect narcotics evidence to remain fresh for long. See United States v.

Johnson, 437 F.3d 69, 72 (D.C. Cir. 2006). Firearms, too, are dangerous, and in the context of

those who possess such weapons illegally, often transferred or disposed of in rapid fashion. Cf.

United States v. Jenkins, 984 F.3d 1038, 1044-45 (D.C. Cir. 2021). The evidence sought in this

case was not only not contraband or perishable, but appeared to possess non-monetary value. As

discussed in the affidavit, some of the clothing was of limited distribution, such as the Infowars

shirt, 3 or had been custom designed by the defendant himself, such as the Branded Bills hat. Thus,

one would reasonably infer that items that have been manufactured in small, specific, or


3
  Branded shirts sold directly on Infowars.com commonly sell for between $25 and $35. This shirt,
which is no longer available through the Infowars store and has not been available there for some
time, is presently available only on after-market websites, where it is selling for more than $100.
See eBay, “RARE� Space Force Launch T Shirt XL InfoWars ALEX JONES TRUMP
DISCONTINUED!”, available at https://www.ebay.com/itm/116098380640.
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customized batches would be more valuable to the person ordering them than mass-manufactured

or easily replaceable products.

       Further, the affidavit detailed how the defendant himself had, on January 6, 2021, already

held on to at least one of the sought items, the Branded Bills hat, for more than three years. See

Attachment A at ¶ 49 n.4 (investigation indicated that the defendant purchased that particular hat

in December 2017). The defendant now claims that it is unreasonable to believe that an individual

might possess such an item of clothing for three years. ECF 115 at 9. In sum, the defendant has

taken the contradictory position that it would be unreasonable to infer that he possessed this

customized hat for “950+ days” when, as set forth in the affidavit, the investigation revealed that

he had already—and definitively—possessed this specific hat for at least 1,102 days. This fact

alone is dispositive.

       In 2014, the Seventh Circuit decided United States v. Carroll, which illustrated how the

nature of the evidence sought informs the staleness analysis. In holding that five years was not

stale in the context of a sexual exploitation investigation, the Court recognized that the inquiry

must be grounded in an understanding of the behavior of child pornography collectors and modern

technology. 750 F.3d 700, 704 (7th Cir. 2014). As the Court noted, “Detective Spivey’s affidavit

made clear that he had learned through training and experience that collectors of child pornography

hoard their images for long periods of time because of the great personal value the images have

for sexual gratification, the difficulty in obtaining the images […] and their value to other

collectors.” Id. The Court drew from historical precedent related to child pornography crimes,

documenting that multiple year lapses did not render affidavits stale. Id. at 705 (collecting cases).

While the Court appreciated the unique status of such child-based crimes, “each case is sui

generis.” Id. (quoting Gates). To that end, the Court’s analysis included the fact that the affiant



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had included information that he had “previously recovered five-year-old digitally stored

pornographic images of child, while the issuing judge in [a different case in which the Court found

that a warrant lacked probable cause] did not have similar information [presented to him/her].” Id.

See also United States v. Lacy, 119 F.3d 742, 746 (9th Cir. 1997). (holding that ten months was

not stale because, as established by the affiant, collectors of child pornography “rarely if ever”

dispose of such material and store it “for long periods.”).

       While this case does not involve child-based crimes, the Carroll Court’s analysis is

instructive: the Carroll Court recognized and appreciated the fact that the affidavit in that case

sufficiently explained the affiant’s understanding of the crime and evidence sought, documented

other instances of evidence recovery, and identified the value associated with certain types of

evidence. Here, this affidavit sufficiently explained the clear, if not obvious, retention likelihood

of items such as clothing—something that was not contraband—and therefore even less likely to

be used up, relocated, or stored away from the home. Attachment A, ¶¶ 49 n. 4, 73. The affidavit

delineated a palpable string of evidence recoveries from similarly situated defendants who had

also retained evidence from the riot for a significant periods of time. Id. ¶¶ 78-80. It further

established the unique state of the riot and its accompanying criminal activity, id. at ¶¶ 5-35, as

well as the unique state of the clothing, id. at ¶ 74, as reasonably inferred. Thus, while this

defendant is not charged with or accused of a child-based crime, there is no meaningful distinction

in the analysis given these particular facts.

       All in all, when an affidavit that establishes a particular, unique crime, and a pattern of

evidence recovery over years in the same type of criminal offense, a request to search the subject’s

a residence to find distinctive, non-contraband clothing worn by a suspect during and around the

commission of the crime is neither novel nor unreasonable, regardless of the time elapsed.



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               2.      The location to be searched.

       The analysis of the evidence sought is closely tied to another consideration under Bruner:

the area to be searched. 657 F.2d. at 1298. The area to be searched in this case was the defendant’s

home, where he has lived for many years. A person’s home is far from a “mere criminal forum of

convenience” and is instead a “secure base of operation.” Id. Moreover, that a person’s home

would be likely to store their clothing does not require a sensational inference. Burroughs, 882 F.

Supp. 2d at 122-123 (distinguishing between the leap of logic required to conclude without further

detail that a narcotics trafficker would keep a record of transaction in a safety deposit box versus

the ordinary logic required to conclude that someone would store stolen items in his home). That

is the type of reasonable inference that is permissible, based on the affiant’s training and

experience, to establish the connection between the crime and the location to be search. Id.; see

also Attachment A, ¶ 71.

               3.      The nature of the crime being investigated.

       Finally, the nature of the crime being investigated weighs heavily in favor of the

magistrate’s original finding. The defendant’s overly technical reading of the affidavit attempts to

place January 6 into the category of a “single incident crime” by asserting that “[t]here was no

allegation that [the defendant] was engaged in an ongoing conspiracy or continuing course of

criminal conduct following the events of January 6, 2021.” ECF 115 at 9-10 (quoting United States

v. Lindsey, 596 F. Supp. 2d 55, 58-59 (D.D.C. 2005) (Lamberth, J.)). That is of no moment here.

January 6 has proven to be not at all like the cases that the defendant cites, Lindsey and Webb,

which primarily involve the discovery of firearms and drugs in residences following isolated

criminal transactions that were distant in time. ECF 115 at 9. As search after search has shown,




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many January 6 defendants have retained clothing and other evidence of their participation in the

events of January 6, 2021.

       As this Court knows, the January 6 riot at the Capitol is different from other crimes.

Participants in the riot extensively filmed their conduct, see, e.g., United States v. Sullivan, 21-cr-

78 (RCL), ECF 1-1, and expressed pride in what they were doing and an awareness of the historical

nature of their conduct, see, e.g., United States v. Thomas, 21-cr-552 (DLF), ECF 203 at 36-39.

Many of the rioters at the Capitol collected souvenirs from the building, see United States v.

Harkrider, 21-cr-117 (RCL), ECF 291 at ¶¶ 25-26 (defendant stole a broken piece of furniture),

stole from the police officers defending the building, see, e.g., United States v. Ackerman, 24-cr-

60 (TJK), ECF 22 at 2 (defendant stole a U.S. Capitol Police riot helmet that the FBI recovered

from his home in June 2023), or simply kept the clothes that they wore that day, see, e.g., United

States v. Ramakrishnan, 23-cr-247 (JMC), ECF 28 at 9-10 (defendant keep the ski jacket that he

wore in the Capitol that was discovered in his home by the FBI in June 2023). Even if they were

not actively stealing or gathering souvenirs, many defendants chose to keep the items that they

brought to the Capitol, and a partial list of these items that have been recovered by the FBI since

February 2022 was included in the affidavit. Attachment A, ¶¶ 78-80. The sheer aggregate quantity

of crimes that took place at the Capitol on January 6, 2021, and the historic nature of those crimes,

coupled with defendants consistently boasting about their involvement on that day further enhance

the likelihood that people would keep stolen items or things related to that day.

       The totality of the circumstances in this case amply supports the magistrate’s finding of

probable cause. The 67-page affidavit painstakingly described the planning and preparation of the

defendant in the lead up to January 6, 2021, including his coordination with others, and outlined

the criminal conduct that he engaged in on that day. It further described in detail the items sought,



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and, crucially, the affiant’s basis as to why those items were not of the type that would be disposed

of following the commission of the crime. Edelin, 128 F. Supp. 2d at 46-47. Moreover, the

affidavit, relying on reasonable inferences and the common fact that most people store clothes in

their homes, properly established a nexus between the items sought and the location to be searched.

Bruner, 657 F.2d at 1298; Burroughs, 882 F. Supp. 2d 113. Finally, the affidavit appropriately

considered the larger context of the riot and its unique nature by describing items that had been

seized during lawful searches as recently as two months before the search in this case. Edelin, 128

F. Supp. 2d at 46-47 (in a case involving a conspiracy to distribute drugs, racketeering, and

multiple homicides, warrants that rely on older information are determined to be “fresh” for Fourth

Amendment purposes if “the evidence sought is of a type that would be maintained after criminal

activity ceased” (citing United States v. LaMorte, 744 F. Supp. 573, 575 (S.D.N.Y 1990) (evidence

sought was of the type that would be maintained long after the criminal activity had ceased)).

       The defendant feigns curiosity at the affiant’s inclusion of the list of abovementioned

searches of January 6 suspects, noting that those searches are “unrelated cases involving unrelated

suspects at unrelated locations.” ECF 115 at 12. But this is not accurate. While those searches are

indeed independent searches at various locations, the searches are borne out of the same crime on

the same day: illegally entering the U.S. Capitol grounds on January 6, 2021. Ignoring the varying

degrees of nuances and levels of intent required by the different statutes, the defendant knowingly

joined a mob bent on disruption. That mob required the presence of individual participants to

magnify the collective effort. To suggest that these other cases are “unrelated” ignores the factual

context entirely. Moreover, even if the cases were unrelated in a technical sense, the fact that

defendants continue to possess lawful items two or three years later is neither shocking nor




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unexpected. The defendant’s invocation of the staleness doctrine appears to ignore years of

meaningful investigation, collectively showcasing the freshness of such probable cause.

       Simply put, the defendant has not met his heavy burden to overturn Magistrate Comstock’s

finding of probable cause. Gates, 462 U.S. at 236; Rhine, 2023 WL 2682258, at *2. The Court

should, therefore, deny his motion to suppress the tangible items seized.

       B.      The Leon Good Faith Exception Applies to the Seized Clothing

       Even assuming the information contained in the affidavit was stale, the good faith

exception, applies. Leon, 468 U.S. 897. The “exclusionary rule was adopted to deter unlawful

searches by police, not to punish the errors of magistrates and judges.” Sheppard, 469 U.S. at 990.

The agents’ reliance on the search warrant was objectively reasonable. The affidavit—67 pages

long with 21 included images and internal references to the specific sources of the information it

provided—describes in detail not just the events of January 6, 2021, but also the defendant’s

specific role in them and the items he had in possession that day, and was then signed by a United

States Magistrate Judge. Washington, 775 F.3d at 407 (“In the ordinary case, an officer cannot be

expected to question the magistrate’s probable-cause determination or his judgment that the form

of the warrant is technically sufficient.”) (quoting Leon, 468 U.S. at 898)).

       The exception to this rule is that suppression may be appropriate if warrant affidavit was

“‘so lacking in indicia of probable cause as to render official belief in its existence entirely

unreasonable.”’ Cardoza, 713 F.3d at 659 (quoting Leon, 468 U.S. at 923). The defendant’s

reliance on Lindsey, 596 F. Supp. 2d 55, to support his assertion that the good faith exception

would not apply in this case is misplaced. Lindsey involved a series of searches for firearms in

residences spread out over two years, all of which were based largely on the same photograph of

a child holding a firearm (this specific firearm was never found). In that case, Judge Lamberth



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found that the good faith exception did not apply to the fruits of the final search because 1) the

affidavit in support of the final search did not say when the criminal activity (i.e., the photograph)

occurred, 2) the officers failed to supplement the affidavit with any new information, and 3) the

officers were searching for guns that were not of any exceptional character. 596 F. Supp. 2d at 61.

In this case, the affidavit provided scrupulous temporal details, often narrowing the time frame to

at least a single day if not a particular minute in time. Cf. id. (“The first problem that should have

alerted the officers that probable cause did not exist is that the affidavit in support of the warrant

did not include a date for when the critical evidence [the photograph] was gathered.”). The affidavit

in this case was similarly supplemented with information about recent fruitful searches in other

cases connected to January 6 to show that, even more than two years (let alone three years) after

the events of that day, relevant evidence is still being discovered across the country. Finally, the

affidavit in this case distinguished the evidence sought because it identified the items’ unique

characteristics and the affiant’s basis for believing that they would be retained.

       The deficits of the affidavit that existed in Lindsey do not exist in this case. The agents

executing the search warrant in this case thus had a good faith basis to believe that the probable

cause to search was sufficient. Washington, 775 F.3d at 407. Therefore, even if the information

upon which they relied was stale, suppression of the evidence is not the appropriate remedy. See

Matthews, 753 F.3d at 1325-1326 (declining to determine whether a potential period of three years

was “stale” because the officers were executing a warrant that contained “a judicial mandate to an

officer to conduct a search.”). It can hardly be said that after an affiant submits a 67-page, fact-

filled affidavit to a court and receives judicial authorization to conduct a scoped search, that any

officer would be unreasonable to rely on such protection. The good faith exception, at its very

core, protects the discovery of such evidence.



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       C.      The Search of Electronic Devices Was Supported by Probable Cause 4

        The defendant further contends that the search of electronic devices seized from his home

was unlawful as the affidavit “lacked any evidence that the devices to be seized were devices

possessed by [him] on January 6, 2021.” Def. Mot at 10. In moving to suppress the contents of the

digital devices on this basis, the defendant misstates what is required of the government’s affidavit

by the Fourth Amendment. The government was not required to prove that the defendant “owned”

these devices. See, e.g., United States v. Smith, 19-cr-324 (BAH), 2021 WL 2982144, at *7 (D.D.C.

July 15, 2021) (“[W]here agents could not have known which device a defendant used to engage

in the conduct relevant to the search, courts have upheld warrants broadly authorizing the seizure

of ‘[a]ny computers, cell phones, and/or electronic media that could have been used as a means to

commit’ described offenses.” (quoting United States v. Loera, 59 F. Supp. 3d 1089, 1151–1152

(D.N.M. 2014)). Where the “affidavit plainly provide[s] probable cause to believe that one or more

of defendant's cell phones would contain evidence of the offense,” as was the case here, “the

warrant was not overbroad simply because it did not particularly describe the phone[.]” Id. The

affidavit presented ample evidence that the seized devices might contain evidence of the

defendant’s crimes. The affidavit outlined how the defendant had a phone in his possession in

Washington, used a phone to communicate with Individual-1 repeatedly from January 4 to January

7, 2021, and to post to social media about the events of January 6. Attachment A, ¶¶ 38-41, 43-44,




4
  The government notes that this issue is likely moot. After a search of the devices seized from the
defendant’s residence, the government did not find any evidence that was responsive to the search
warrant and, therefore, does not intend at this time to offer any evidence from the devices during
the presentation of its case-in-chief. The government notified the defendant’s counsel of this fact
via email on January 31, 2024. If the government changes its position on this matter, it will
promptly notify the defendant through his counsel. The government reserve the right to seek
admission for impeachment purposes, to the extent the defendant testifies inconsistent with what
was discovered on his digital devices.
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48, 64, & 68. Taken together, these facts more than showed that, at a minimum, the defendant used

a phone to recount his activities at the Capitol.5

       Moreover, the government was not required to identify, at the time it obtained the warrant,

each electronic device in the defendant’s possession and whether that device contained data

relevant to the crimes. Such a showing would be virtually impossible in advance of the seizure and

search, which is why courts frequently do not require a showing that specific devices to be seized

are those involved in a crime. See Smith, 2021 WL 2982144, at *8 (finding “reason to believe that

other devices in the residence—even if they did not belong to defendant—would contain evidence

of the offense,” even if those devices were not specifically identified.). The affidavit must simply

set forth probable cause to believe that the defendant’s electronic devices will be found in the

residence and contain evidence of the defendant’s crimes on January 6. Moreover, even if a

specific phone recovered was not the exact phone defendant used on January 6, individuals

commonly transfer data from their old phone to their new phone, so even a new device may still

have evidence of the defendant’s crimes on January 6, such as photos, text messages, or videos.

See Attachment A, ¶ 84(b).

       The defendant also seems to be moving to suppress the results of the search of the digital

devices on the basis that the information used to establish probable cause for these devices was

stale. ECF 115 at 11. The same previously discussed Fourth Amendment principles regarding

staleness apply to the search of digital devices. However, courts have held, where “the records or

documents in question are digital, staleness is even less of a problem” than for tangible objects.


5
  The affidavit explains that files on digital devices “can be recovered months or even may years
after they have been downloaded” and that deleted files “can be recovered months or years later
using readily available forensics tools.” Indeed, the ability to retrieve “an electronic file from a
digital device depends less on when the file was downloaded or viewed than on a particular user’s
operating system” and “storage capacity.” Attachment A, ¶ 84(c).

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Ali, 870 F. Supp. 2d at 34. “[N]umerous courts have recognized that digital files remain on

computers for extensive periods of time, even if they have been deleted,” such that “the passage

of time does not necessarily render the evidence stale.” United States v. Coon, 2011 WL 1871165,

at *3 (W.D.N.Y. May 16, 2011) (collecting cases). “[T]he nature of digital evidence,” which

“weighs against a finding of staleness.” United States v. Payne, 394 Fed. Appx. 891, 894 (3d Cir.

2010) (quoting United States v. Payne, 519 F. Supp. 2d 466, 477 (D.N.J. 2007)). There is,

therefore, no staleness concern with respect to the search of the defendant’s devices.

                                         CONCLUSION

       For the reasons above, the defendants’ motion to suppress the results of the August 30,

2023, search of his residence should be denied.

                                             Respectfully submitted,


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